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1                                 NOTE: CHANGES MADE BY THE COURT
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9                            UNITED STATES DISTRICT COURT
10                          CENTRAL DISTRICT OF CALIFORNIA
11
     MICHAEL TERPIN,                        Case No. 2:18-cv-06975-ODW-KS
12
               Plaintiff,
13
          v.                                ORDER EXTENDING SCHEDULING
14                                          ORDER DEADLINES
     AT&T MOBILITY LLC; and DOES 1-
15   25,
                                            Action Filed: August 15, 2018
16             Defendants.
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                  ORDER EXTENDING SCHEDULING ORDER DEADLINES
                           CASE NO. 2:18-cv-06975-ODW-KS
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1             ORDER EXTENDING SCHEDULING ORDER DEADLINES
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           Upon consideration of the stipulation filed by the parties, it is ORDERED that
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     the Scheduling Order entered December 29, 2020 (Dkt. 53) is amended as follows:
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                       Fact discovery cutoff – April 4, 2022
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                       Expert discovery cutoff – April 25, 2022
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                       Deadline to conduct settlement conference – May 16, 2022
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                       Deadline for hearing motions – May 23, 2022
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                       Deadline to file: proposed pretrial conference order; memoranda
9                       and contentions of fact and law; joint witness list; joint exhibit list
                        and exhibit stipulation; proposed verdict form(s); proposed jury
10                      instructions/disputed jury instructions; proposed voir dire
                        questions; joint statement of the case; joint status report re:
11                      settlement – July 18, 2022
12                     Pretrial conference; deadline to file motions in limine – July 25,
13                      2022 at 1:30pm
14                     Hearing on motions in limine – August 8, 2022 at 1:30 pm
15                     Deadline to file final trial exhibit stipulation – August 18, 2022
16                     Trial – August 23, 2022 at 9:00 am
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18         IT IS SO ORDERED.
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     DATED: November 4, 2021                       _________________________________
21                                                 The Honorable Otis D. Wright II
                                                   UNITED STATES DISTRICT JUDGE
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                    ORDER EXTENDING SCHEDULING ORDER DEADLINES
                             CASE NO. 2:18-cv-06975-ODW-KS
